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 Fill in this information to identify the case:

 United States Bankruptcy Court for the:

 __________     District of __________
 District of Delaware

 Case number (If known): _________________________ Chapter 15                                                                               Check if this is an
                                                                                                                                               amended filing



Official Form 401
Chapter 15 Petition for Recognition of a Foreign Proceeding                                                                                             12/15

If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write debtor’s name and case number (if known).



1.   Debtor’s name
                                            syncreon Automotive (UK) Ltd.
                                           _____________________________________________________________________________________________




2.   Debtor’s unique identifier            For non-individual debtors:

                                                  ✔
                                                     Federal Employer Identification Number (EIN)       9 8 ±0 5 7 1 7 4 8
                                                                                                        BBBBBBBBBBBBBBBBBBBBBBBBBBB

                                                  
                                                  ✔         03012604
                                                      Other ___________________________.                      Company Number
                                                                                         Describe identifier _____________________________.


                                           For individual debtors:

                                                     Social Security number:    xxx – xx– ____ ____ ____ ____

                                                     Individual Taxpayer Identification number (ITIN): 9 xx – xx – ____ ____ ____ ____

                                                     Other ___________________________. Describe identifier ______________________________.



3.   Name of foreign
     representative(s)                      Carine Van Landschoot
                                           ____________________________________________________________________________________________


4.   Foreign proceeding in which           Proceeding in the High Court of Justice of England and Wales (Part 26 of the
     appointment of the foreign             Companies Act)
                                           ____________________________________________________________________________________________
     representative(s) occurred

5.   Nature of the foreign
                                           Check one:
     proceeding
                                           
                                           ✔   Foreign main proceeding
                                              Foreign nonmain proceeding
                                              Foreign main proceeding, or in the alternative foreign nonmain proceeding


6.   Evidence of the foreign               
                                           ✔   A certified copy, translated into English, of the decision commencing the foreign proceeding and
     proceeding                                appointing the foreign representative is attached. 6HH([KLELWDWWDFKHGKHUHWR 

                                              A certificate, translated into English, from the foreign court, affirming the existence of the foreign
                                               proceeding and of the appointment of the foreign representative, is attached.

                                           
                                           ✔   Other evidence of the existence of the foreign proceeding and of the appointment of the foreign
                                               representative is described below, and relevant documentation, translated into English, is attached.
                                               BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB
                                               &HUWLILHGH[WUDFWRIPLQXWHVDSSRLQWLQJ)RUHLJQ5HSUHVHQWDWLYH
                                               _______________________________________________________________________             6HH([KLELW

7.   Is this the only foreign              
                                           ✔   No. (Attach a statement identifying each country in which a foreign proceeding by, regarding, or against the
     proceeding with respect to                debtor is pending.) 6HH([KLELWDWWDFKHGKHUHWR 
     the debtor known to the
                                              Yes
     foreign representative(s)?



Official Form 401                                 Chapter 15 Petition for Recognition of a Foreign Proceeding                                 page 1
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Debtor          syncreon   Automotive (UK) Ltd.
                _______________________________________________________                           Case number (if known)_____________________________________
                Name



8.    Others entitled to notice          Attach a list containing the names and addresses of:                 6HH([KLELWDWWDFKHGKHUHWR
                                         (i)    all persons or bodies authorized to administer foreign proceedings of the debtor,
                                         (ii)   all parties to litigation pending in the United States in which the debtor is a party at the time of filing of this
                                                petition, and
                                         (iii) all entities against whom provisional relief is being sought under § 1519 of the Bankruptcy Code.


9.    Addresses                          Country where the debtor has the center of its                  Debtor’s registered office:
                                         main interests:


                                          England
                                         ______________________________________________                  Unit 5, Logix Road, R D Park, Watling St.
                                                                                                         ______________________________________________
                                                                                                         Number     Street

                                                                                                         _______________________________________________
                                                                                                         P.O. Box

                                                                                                         Hinckley, Leicestershire           LE10 3BQ
                                                                                                         _______________________________________________
                                                                                                         City         State/Province/Region ZIP/Postal Code


                                                                                                         England
                                                                                                         _______________________________________________
                                                                                                         Country




                                         Individual debtor’s habitual residence:                         Address of foreign representative(s):



                                         _______________________________________________                 Athenastraat 4-10 Office Building A
                                         Number     Street                                               Number        Street

                                         _______________________________________________                 _______________________________________________
                                         P.O. Box                                                        P.O. Box

                                         _______________________________________________                 RK Tilburg                         NL-5047
                                                                                                         _______________________________________________
                                         City         State/Province/Region ZIP/Postal Code              City         State/Province/Region ZIP/Postal Code


                                         _______________________________________________                 The Netherlands
                                                                                                         _______________________________________________
                                         Country                                                         Country




10.   Debtor’s website (URL)              http://www.syncreon.com/index.php?id=home
                                         ____________________________________________________________________________________________________




11.   Type of debtor                     Check one:

                                         
                                         ✔      Non-individual (check one):
                                                 ✔
                                                     Corporation. Attach a corporate ownership statement containing the information
                                                      described in Fed. R. Bankr. P. 7007.1.

                                                     Partnership

                                                     Other. Specify: ________________________________________________

                                               Individual




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                 07/30/2019




          /s/ Laura Davis Jones                  07/30/2019
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                                          Exhibit 1

                                 Certified Copy of Decision
                               Commencing Foreign Proceeding




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                                                            Claim No. CR-2019-004856

IN THE HIGH COURT OF JUSTICE
BUSINESS AND PROPERTY COURTS OF ENGLAND AND WALES
COMPANIES COURT (ChD)

THE HONOURABLE MRS JUSTICE FALK

25 JULY 2019

IN THE MATTER OF SYNCREON GROUP B.V.
IN THE MATTER OF SYNCREON AUTOMOTIVE (UK) LTD
AND IN THE MATTER OF THE COMPANIES ACT 2006




                                  (1)      SYNCREON GROUP B.V.

                          (2)        SYNCREON AUTOMOTIVE (UK) LTD

                                                                                    Claimants




                                CONVENING DIRECTIONS ORDER




     UPON THE APPLICATION by Part 8 Claim Form dated 18 July 2019 (the
     “Claim Form”) of the above named Claimants namely:

    (1) syncreon Group B.V. (“syncreon Group”), a company incorporated in
         The Netherlands, whose registered office is situated at Athenastraat 6,
         5047 RK Tilburg, The Netherlands; and

     (2) syncreon             Automotive   (UK)    Ltd   (“syncreon     UK”),   a    company
          incorporated in England, whose registered office is situated at Unit 5
          Logix Road, R D Park, Watling Street, Hinckley, Leicestershire, LE10 3BQ;



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     (each a “Scheme Company” and together, the “Scheme Companies”);

AND UPON HEARING Leading Counsel, Mr Mark Arnold QC and Counsel, Mr
Adam Goodison for the Scheme Companies;

AND UPON each of the Scheme Companies having resolved to appoint Carine
Van Landschoot to act as the Scheme Companies’ foreign representative in
respect of any proceedings under chapter 15 of the U.S. Bankruptcy Code
and/or under Part IV of the Canadian Companies’ Creditors Arrangement Act,
R.S.C. 1985, c. C-36;

AND UPON the Court adopting in this Order (save where terms are otherwise
expressly defined in this Order) the definitions, abbreviations, words and
phrases contained in the Scheme Documents hereinafter mentioned;

AND UPON the Court being satisfied that it has jurisdiction in relation to the
Schemes (as defined below) on the basis that each of the Scheme Companies
is a “company” for the purposes of Part 26 of the Companies Act 2006

IT IS ORDERED AND DIRECTED THAT:

1         Each of the Scheme Companies be at liberty to convene meetings of its
          Scheme Creditors to be held from 3pm (London time) on 3 September
          2019 at the offices of Weil, Gotshal & Manges (London) LLP, 110 Fetter
          Lane, London, EC4A 1AY, United Kingdom for the purpose of considering
          and, if thought fit, approving with or without modification, the schemes
          of arrangement (each a “Scheme” and together the “Schemes”) to be
          made between each of the Scheme Companies and the Scheme
          Creditors (each a “Scheme Meeting” and together the “Scheme
          Meetings”).

2         The Scheme Meetings convened pursuant to paragraph 1 of this Order
          shall be held as follows:

         (a)       First, to be held at 3pm (London time) on 3 September 2019, the
                   Scheme Meeting of the PCF Lenders of syncreon Group (“the First
                   Scheme Meeting”);



                                              2

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         (b)       Second,        to   be    held     immediately         after        the   conclusion   or
                   adjournment of the First Scheme Meeting, the Scheme Meeting of
                   the Noteholders of syncreon Group (“the Second Scheme
                   Meeting”);

         (c)       Third, to be held immediately after the conclusion or adjournment
                   of the Second Scheme Meeting, the Scheme Meeting of the PCF
                   Lenders of syncreon UK (“the Third Scheme Meeting”); and

         (d)       Fourth,       to    be    held     immediately         after     the      conclusion   or
                   adjournment of the Third Scheme Meeting, the Scheme Meeting of
                   the        Noteholders     of     syncreon        UK   (“the         Fourth     Scheme
                   Meeting”).

3         At least 21 clear days before the day appointed for the Scheme
          Meetings, the Information Agent shall arrange for copies of (i) the notices
          convening each of the Scheme Meetings; (ii) the Schemes; (iii) the
          explanatory statement required to be furnished pursuant to section 897
          of the Companies Act 2006; and (iv) a Notes Account Holder Letter
          and/or Proxy Form, for use by the Scheme Creditors in connection with
          the     Scheme         Meetings         (together       referred     to      as    the   “Scheme
          Documents”) to be:

         (a)       announced by the Administrative Agent on the data site
                   maintained by the Administrative Agent (in respect of the PCF
                   Debt);

         (b)       made available by the Information Agent through DTC’s Legal
                   Notice System (in respect of the Notes); and

         (c)       uploaded           by    the    Information        Agent       to     the   website    at
                   https://www.lucid-is.com/syncreon/ (the “Scheme Website”) (to
                   be available to all Scheme Creditors).

4         Any supplemental information not included in the Scheme Documents
          which the Scheme Companies wish to provide to the Scheme
          Creditors in advance of the Scheme Meetings (or any adjourned

                                                          3

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          Scheme Meetings) shall be provided in the manner described in
          paragraph 3 above (save that the Scheme Companies have
          permission to abridge the 21 clear day stated time limit to a shorter
          time period, provided Scheme Creditors must have sufficient time to
          consider such supplemental information before the Scheme Meetings
          or any adjourned Scheme Meetings).

5         Until the date of the Scheme Meetings, Scheme Creditors may request
          hard copies of the Scheme Documents from the reception desk at the
          offices of Weil, Gotshal & Manges (London) LLP, 110 Fetter Lane, London,
          EC4A            1AY,   United   Kingdom             or     by      email   to
          Project.Feather.Weil.UK.BFR@weil.com.


6         Copies of the Scheme Documents shall be in the form or substantially in
          the form of the documents initialled by the Court for identification
          purposes, subject to the completion of blanks and minor modifications
          as advised by solicitors and Counsel to the Scheme Companies.

7         Unless the Court orders otherwise, the accidental omission to notify any
          of the Scheme Creditors with the notice of the Scheme Meetings or the
          non-receipt of notice of the Scheme Meetings by any Scheme Creditor
          shall not invalidate the proceedings at the Scheme Meetings.

8         In order to vote on the Schemes (in person, by authorised representative
          and/or by proxy), Scheme Creditors shall return their duly completed and
          signed Notes Account Holder Letter and/or Proxy Form so that it is
          received no later than the Voting Instruction Deadline, being 5.00 p.m.
          (London time) on 29 August 2019 (or, if a Scheme Meeting is adjourned,
          5.00 p.m. (London time) on the day which is two Business Days prior to
          the date of the adjourned meeting) by submitting it online through the
          Scheme Website.

9         The Scheme Creditors as at the Voting Instruction Deadline, being 5.00
          p.m. (London time) on 29 August 2019, or if a Scheme Meeting is
          adjourned then 5.00 p.m. (London time) on the day which is two Business
          Days prior to the date of the adjourned meeting, will be entitled to attend


                                              4

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          and vote at the Scheme Meetings (either in person, by authorised
          representative and/or by proxy).

10        Andrew Wilkinson or, failing him, another partner of Weil, Gotshal &
          Manges (London) LLP be appointed as chairman of each of the Scheme
          Meetings on behalf of each of the Scheme Companies (the “Chairman”).

11        The Chairman be responsible for determining in accordance with the
          relevant provisions in the Scheme Documents, the entitlement of, and
          value for which, any Scheme Creditor be permitted to vote at the
          respective Scheme Meetings by reference to the information supplied by
          the Scheme Creditor, by the Information Agent, and/or by reference to
          information contained in the Scheme Companies’ books and records.

12        The Chairman be at liberty to accept, at his discretion, otherwise
          incomplete or late Notes Account Holder Letters and/or Proxy Forms
          (but, for the avoidance of doubt, provided that any such late Notes
          Account Holder Letter or Proxy Form is received before the Chairman
          closes such relevant Scheme Meeting; and, provided that in the case of
          an incomplete Notes Account Holder Letter or Proxy Form, sufficient
          information has been provided in such Notes Account Holder Letter or
          Proxy Form, or by some other means, to enable the Chairman, in any
          such given case, to assess the value of the relevant Scheme Claim).

13        The Chairman shall be entitled to rely on the signature on the Proxy Form
          and/or Notes Account Holder Letter, including one sent by e-mail or fax,
          as a warranty that the signatory has been duly authorised by the
          relevant Scheme Creditor to sign the Proxy Form and/or Notes Account
          Holder Letter on behalf of that Scheme Creditor.

14        The Chairman be at liberty to adjourn a Scheme Meeting provided that
          if adjourned, such Scheme Meeting recommences as soon as reasonably
          practicable according to the Chairman’s discretion.              In so far as
          practicable, notification of the time, date and place at which the
          adjourned Scheme Meeting will occur should be given to Scheme
          Creditors as follows:


                                             5

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         (a)       announced by the Administrative Agent on the data site
                   maintained by the Administrative Agent (in respect of the PCF
                   Debt);

         (b)       made available by the Information Agent through DTC’s Legal
                   Notice System (in respect of the Notes);

         (c)       uploaded by the Information Agent to Scheme Website (to be
                   available to all Scheme Creditors).

15        The Chairman be at liberty to permit the attendance of persons who are
          not otherwise entitled to attend and vote at a Scheme Meeting, unless
          an objection is taken by (or by a person appointed to vote by proxy for)
          a Scheme Creditor entitled to attend and vote at the relevant Scheme
          Meeting, provided that such a person shall not be entitled to speak at
          the relevant Scheme Meeting without the permission of the Chairman.

16        The Company shall appoint a representative of the Information Agent
          who shall count the votes submitted at the Scheme Meetings and, in
          respect of each Scheme Meeting, provide the Chairman with a certificate
          setting out the votes submitted at such Scheme Meeting.

17        For the purposes of voting at each of the Scheme Meetings on the
          resolutions to approve the respective Schemes, Scheme Claims of a
          Scheme Creditor shall be calculated as at the Record Time, being 5.00
          p.m. (New York time) on 23 August 2019, or if the Scheme Meeting is
          adjourned then 5.00 p.m. (New York time) on the day which is two
          Business Days prior to the date of the adjourned meeting, based on
          information confidentially provided to the respective Scheme Companies
          by the Information Agent.

18        If the Schemes are approved at each of the Scheme Meetings by the
          required statutory majorities:

         (a)       The Chairman is directed to file a report on each Scheme Meeting,
                   and the voting, prior to the Court hearing to sanction the Schemes;
                   and

                                              6

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         (b)       The Claim Form is adjourned to a further hearing on 10 September
                   2019 for the Court to consider the sanction of the Schemes

19        The Chairman and/or the Scheme Companies shall have liberty to apply
          for such further or amended directions as may be considered necessary
          or appropriate.

AND IT IS DECLARED THAT:

20        Carine Van Landschoot (the “Authorised Representative”) has been
          validly appointed by the Directors of each of the Scheme Companies to
          represent the Scheme Companies and act as the Scheme Companies’
          agent in seeking any relief available to a “foreign representative” in any
          proceedings commenced in the United States under chapter 15 of the
          U.S. Bankruptcy Code and in any proceedings commenced in Canada
          under Part IV of the Canadian Companies’ Creditors Arrangement Act,
          R.S.C. 1985 (“the CCAA”).

21        The Authorised Representative has been authorised, empowered and
          directed, in the name and on behalf of the Scheme Companies, to enter
          into, swear or affirm, execute, deliver, certify, file and/or record,
          including with the U.S. Bankruptcy Court with respect to the U.S.
          Proceedings and in the Canadian Court with respect to the Canadian
          Proceedings, perform, approve and effectuate all necessary documents
          in connection with the U.S. Proceedings and the Canadian Proceedings,
          and       any       related   pleadings,     affidavits,    motions,   applications,
          declarations, and other documentation that shall be or become
          necessary, proper, or desirable in connection with the U.S Proceedings
          and the Canadian Proceedings, and to take such actions as she deems
          appropriate in connection therewith.




DATED this day 25 of July 2019.



Service of the Order

                                                  7

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The Court has provided a sealed copy of this Order to the serving party:

Weil, Gotshal & Manges (London) LLP, 110 Fetter Lane, London EC4A 1AY (ref:
Andrew Wilkinson/Mark Lawford/69894.0005)




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                                              Exhibit 2

                               Certified Copy of Extract of Minutes of
                              Meeting of the Debtor’s Board of Directors




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                                               Exhibit 3

                         Pending Foreign Proceedings with Respect to the Debtor

On July 22, 2019, syncreon Automotive (UK) Ltd. (“syncreon UK”) commenced a
proceeding in the High Court of Justice of England and Wales under part 26 of the Companies
Act 2006 to obtain an order sanctioning a scheme of arrangement in respect of syncreon UK (the
“Scheme”).

Contemporaneously with, or soon after, the commencement of this case seeking recognition
of the Scheme under chapter 15 of title 11 of the United States Code, Carine Van Landschoot,
the duly-appointed foreign representative of syncreon UK, commenced or will commence a
parallel proceeding for syncreon UK in the Ontario Superior Court of Justice (Commercial List)
seeking recognition of the Scheme under Part IV of the Companies’ Creditors Arrangement
Act, R.S.C. 1985, c, C-36 as amended.




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                                           Exhibit 4

                                        Rule 1007(a)(4)
                                       Schedule of Parties




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                              UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :
                                                             :        Chapter 15
                                                             :
SYNCREON AUTOMOTIVE (UK) LTD.                                :        Case No. 19– ________ (              )
                                                             :
                  Debtor in a foreign proceeding. 1 :
                                                             :
------------------------------------------------------------ x

                          RULE 1007(a)(4) OF FEDERAL RULES
                   OF BANKRUPTCY PROCEDURE SCHEDULE OF PARTIES

                    In accordance with Rule 1007(a)(4) of the Federal Rules of Bankruptcy Procedure

and as attested to in the Declaration of Carine Van Landschoot in Support of Motion for

Recognition of Foreign Main Proceeding and Request for Certain Related Relief filed

contemporaneously herewith, Carine Van Landschoot, the duly-appointed foreign representative

(the “Foreign Representative”) of syncreon Automotive (UK) Ltd., the above-captioned debtor

(the “Debtor”), provides the following schedule of the names and address of the relevant

persons, bodies, and parties.

I.        All persons or bodies authorized to administer foreign proceedings of the Debtor:

Carine Van Landschoot
Athenastraat 4–10
Office building A
NL-5047 RK Tilburg
The Netherlands




1
     The identifying four digits of the Debtor’s U.S. federal tax identification number are 1748. The identifying four
     digits of the Debtor’s local U.K. tax identification number are 2112. The Debtor’s (UK) company registration
     number is 03012604. The location of the Debtor’s corporate headquarters and registered office is Unit 5 Logix
     Road, R D Park, Hinckley, Watling Street, Leicestershire, LE10 3BQ, United Kingdom.




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II.     All parties to litigation pending in the United States in which the Debtor is a party at the
time of filing of this petition:

The Foreign Representative is unaware of any litigation pending in the United States to which
the Debtor is a party.

III.  All of the entities against whom provisional relief is being sought under § 1519 of the
Bankruptcy Code:

The Foreign Representative is not seeking provisional relief at this time and reserves all rights to
seek such relief in the future.




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                                          Exhibit 5

                               Corporate Ownership Statement




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                                   UNITED STATES BANKRUPTCY COURT
                                        DISTRICT OF DELAWARE

------------------------------------------------------------ x
In re:                                                       :
                                                             :        Chapter 15
                                                             :
SYNCREON AUTOMOTIVE (UK) LTD.                                :        Case No. 19– ________ (              )
                                                             :
                  Debtor in a foreign proceeding. 1 :
                                                             :
------------------------------------------------------------ x

             CORPORATE OWNERSHIP STATEMENT PURSUANT TO
        FEDERAL RULES OF BANKRUPTCY PROCEDURE 1007(a)(4) AND 7007.1

                    In accordance with the requirements of Bankruptcy Rules 1007(a)(4) and 7007.1

of the Federal Rules of Bankruptcy Procedure, Carine Van Landschoot, the duly-appointed

foreign representative (the “Foreign Representative”) of syncreon Automotive (UK) Ltd., the

above-captioned debtor (the “Debtor”), submits the following corporate ownership statement of

the Debtor, identifying any corporation that directly or indirectly owns 10% or more of any class

of the Debtor’s equity interests:

                    1.           syncreon UK Holdings Limited, a corporation organized under the laws of

the United Kingdom (the “Direct Parent”), directly owns 100% of the Debtor’s equity interests.

                    2.           In addition, the following entities indirectly own 10% or more of the

Debtor’s equity interests:

                          (i)           syncreon International Group Unlimited Company, a corporation
                                        organized under the laws of Ireland;

                          (ii)          syncreon EMEA Unlimited Company, a corporation organized
                                        under the laws of Ireland;


1
     The identifying four digits of the Debtor’s U.S. federal tax identification number are 1748. The identifying four
     digits of the Debtor’s local U.K. tax identification number are 2112. The Debtor’s (UK) company registration
     number is 03012604. The location of the Debtor’s corporate headquarters and registered office is Unit 5 Logix
     Road, R D Park, Hinckley, Watling Street, Leicestershire, LE10 3BQ, United Kingdom.




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                          (iii)          syncreon European Holdings Unlimited Company, a corporation
                                         organized under the laws of Ireland;

                          (iv)           syncreon Global (Ireland) Designated Activity Company, a
                                         corporation organized under the laws of Ireland;

                           (v)           syncreon (IOM) Limited, a corporation organized under the laws
                                         of the Isle of Man;

                          (vi)           syncreon Holdings Limited, a corporation organized under the
                                         laws of Ireland;

                         (vii)           syncreon Ireland B.V., a corporation organized under the laws of
                                         the Netherlands;

                         (viii)          syncreon Ireland Acquisition Designated Activity Company, a
                                         corporation organized under the laws of Ireland;

                          (ix)           syncreon Group B.V., a corporation organized under the laws of
                                         the Netherlands (the “Dutch Borrower”);

                           (x)           syncreon Group Holdings B.V., a corporation organized under the
                                         laws of the Netherlands (“OpCo”);

                          (xi)           syncreon Global S.à.r.l., a corporation organized under the laws of
                                         Luxembourg;

                         (xii)           syncreon Intermediate Global Holdings Limited, a corporation
                                         organized under the laws of the Cayman Islands; and

                         (xiii)          syncreon Global Holdings Limited, a corporation organized under
                                         the laws of the Cayman Islands and the ultimate corporate parent
                                         of the Debtor (“HoldCo” and the entities in (x) to (xiii)
                                         collectively, the “HoldCo Group”).

                    3.            As of the date hereof, after reasonable inquiry, the Foreign Representative

believes that each of the following parties own 10% or more of the equity interests in HoldCo in

the following amounts:

                            (i)          Horizon Super Holdings L.P., (44.7%);

                           (ii)          GenNx360 syncreon Investors LLC, (39.3%); and

                          (iii)          Wychwood Trust, (13.8%).

                                  For the Court’s convenience, an abbreviated corporate structure chart is

attached hereto.




                                                           2
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                                                Abbreviated Corporate Structure Chart



  Wychwood Trust                                   Brian Enright                                                                                Horizon Super Holdings L.P.
(Enright Family Trust)                                 (CEO)                                  GenNx360 syncreon Investors LLC                         (Centerbridge)

              13.8%                                         2.2%                                               39.3%                                            44.7%


                                                                    syncreon Global Holdings Limited
                                                                               (HoldCo)


                Various Affiliates                         syncreon Intermediate Global Holdings Limited                    the Holdco Group



                                                                         syncreon Global S.à r.l.


                                                                      syncreon Group Holdings B.V.
                                                                                (OpCo)


                                                                           syncreon Group B.V.
                                                                          (the Dutch Borrower)


                                                           syncreon Ireland Acquisition Designated Activity
                                                                              Company


                                                                          syncreon Ireland B.V.



                                                                        syncreon Holdings Limited

                                                                                         68.6%

                                                                         syncreon (IOM) Limited


                                                                   syncreon Global (Ireland) Designated                                        31.4%
                                                                            Activity Company
                                                                                         99.99%                                 48.19%
                                                1 share
                  Various Affiliates                      syncreon European Holdings Unlimited Company

                                                                                         48.02%

                                                                   syncreon EMEA Unlimited Company
                                       3.79%
                                                                                         99.99%
                                       0.001%
                                                          syncreon International Group Unlimited Company



                                                                      syncreon UK Holdings Limited


                                                                      syncreon Automotive (UK) Ltd.
                                                                              (the Debtor)
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